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                                EXHIBIT 37



                                 In Support of


          Plaintiff United States’ Memorandum of Law in Support of the
         United States’ Second Motion for Partial Summary Judgment; and
            Statement of Undisputed Material Facts in Support Thereof
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                                                                                                           38728780



                            UNITED STATES DISTRICT COURT                                               Jul 15 2011
                                                                                                         6:25PM

                           EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                          *      MDL NO. 2179
       ³'((3:$7(5+25,=21´
       In the GULF OF MEXICO on                          *      SECTION: J
       April 20, 2010
                                                         *      JUDGE BARBIER
Applies to: All Cases
                                                         *      MAG. JUDGE SHUSHAN



    RESPONSE ON BEHALF OF TRITON ASSET LEASING GMBH, TRANSOCEAN
      HOLDINGS LLC, TRANSOCEAN DEEPWATER INC., AND TRANSOCEAN
     2))6+25('((3:$7(5'5,//,1*,1&72%33$57,(6¶),5676(72)
                         INTERROGATORIES1

       Pursuant to Federal Rules of Civil Procedure 26 and 34, TRITON ASSET LEASING

GMBH, TRANSOCEAN HOLDINGS LLC, TRANSOCEAN DEEPWATER INC., AND

TRANSOCEAN OFFSHORE DEEPWATER DRILLING INC. FROOHFWLYHO\ ³5HVSRQGHQWV´ 

REMHFWWRWKH%33DUWLHV¶ ³%3´ )LUVW6HWRI,QWHUURJDWRULHV ³%3¶V,QWHUURJDWRULHV´ DVIROORZV

                                   GENERAL OBJECTIONS

       These General Objections are hereby incorporated into each specific response below.




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  $OWKRXJK %3¶V ,QWHUURJDWRULHV DOVR QDPH 7UDQVRFHDQ /WG DQG 7UDQVRcean Inc., these parties
REMHFWJHQHUDOO\WR%3¶V,QWHUURJDWRULHVDQGWRHDFKLQGLYLGXDO,QWHUURJDWRU\RQWKHJURXQGVWKDW
this Court lacks personal jurisdiction over Transocean Ltd. and Transocean Inc. Transocean Ltd.
and Transocean Inc. so object with full reservation of rights, and by appearing now do not waive
personal jurisdiction. On May 6, 2011, this Court entered a Special Appearance by Transocean
Ltd. and Transocean Inc. and ordered a standstill of jurisdictional discovery, allowing counsel to
accept service of process without waiver of jurisdiction (Docket Number 2274). Transocean Ltd.
and Transocean Inc. have not consented to personal jurisdiction, and therefore, pending
UHVROXWLRQ RI WKH VWDQGVWLOO %3¶V ,QWHUURJDWRULHV as to Transocean Ltd. and Transocean
Inc. are not proper.
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United States. However, when those rigs are moved to less hospitable jurisdictions, Transocean

can have great difficulty employing a U.S. citizen to command and chair those rigs. Most

importantly, flagging a rig to the Marshall Islands does not result in any exemption from

operational requirements for operating in U.S. waters. Transocean remains under U.S. Coast

Guard jurisdiction for its operations in the waters of the United States. Further, there is no tax

advantage to foreign flagging. There is some nominal financial benefit because some of the

Marshall Islands fees are less than in other venues; however, Transocean flags some of its

vessels to the Marshall Islands for logistical, rather than financial, reasons. Respondents have

produced non-privileged responsive documents relating to the flagging of the Deepwater

Horizon to the Marshall Islands, including Marshall Islands licenses, certificates, and

inspections.

INTERROGATORY NO. 34:

       Identify all Transocean drilling vessels in operation from January 1, 2009 through

December 31, 2010 that were United States-flagged.

RESPONSE TO INTERROGATORY NO. 34:

       In addition to the General Objections set forth above, Respondents object to this

Interrogatory on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Interrogatory on the grounds that it is

vague, ambiguous, overly broad, unduly burdensome, and not reasonably calculated to lead to

the discovery of admissible evidence. By way of example, Transocean owns more than 130 rigs,

but only two, the Marianas and Deepwater Horizon, performed work on the Macondo well. As

such, the vast majority of these rigs have no bearing on the events of April 20, 2010.



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Respondents further object to this Interrogatory on the grounds that it seeks information that is

publically available.   Subject to and without waiving the foregoing specific and General

Objections, Respondents state that informDWLRQDERXW7UDQVRFHDQ¶VPRUHWKDQULJVLQFOXGLQJ

LQIRUPDWLRQ   UHJDUGLQJ    IODJJLQJ   LV   DYDLODEOH   RQ   7UDQVRFHDQ¶V    ZHEVLWH    DW

http://www.deepwater.com/fw/main/List-by-Name-16.html.

INTERROGATORY NO. 35:

       State whether you contend that the Deepwater Horizon ZDVD³VHOI-SURSHOOHG02'8´RU

D ³G\QDPLFDOO\-SRVLWLRQHG YHVVHO´ IRU SXUSRVHV RI WKH 0LQLPXP 6DIH 0DQQLQJ &HUWLILFDWLRQ

XQGHUWKH,QWHUQDWLRQDO&RQYHQWLRQIRUWKH6DIHW\RI/LIHDW6HD ³62/$6´ 6WDWHDOOWKHIDFWXDO

bases that support your contention; identify all persons with knowledge of whether the

Deepwater Horizon ZDV D ³VHOI-SURSHOOHG 02'8´ RU D ³G\QDPLFDOO\-SRVLWLRQHG YHVVHO´ IRU

purposes of the Minimum Safe Manning Certification under SOLAS; and identify all documents

relating to whether the Deepwater Horizon ZDV D ³VHOI-SURSHOOHG 02'8´ RU D ³G\QDPLFDOO\-

SRVLWLRQHGYHVVHO´IRUSXUSRVHVRIWKH0LQLPXP6DIH0DQQLQJ&HUWLILFDWLRQXQGHU62/$6

RESPONSE TO INTERROGATORY NO. 35:

       In addition to the General Objections set forth above, Respondents object to this

Interrogatory on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Interrogatory on the grounds that it is

vague, ambiguous, overly broad, unduly burdensome, and not reasonably calculated to lead to

the discovery of admissible evidence. Subject to and without waiving the foregoing specific and

General Objections, Respondents state that the Deepwater Horizon was a self-propelled MODU.

In addition, Respondents have produced non-privileged responsive documents, including the



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Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, on July 15, 2011.

                                                   s/Kerry J. Miller___________




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